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                                                                                FEB 26 2019        L/
                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA                     CLERK. U.S. blSTI^lbTCOURT
                               Richmond Division                       I        'RICHMOND


UNITED STATES OF AMERICA,

V.                                            Criminal No. 3:18-cr-117

ISIDORO GONZALEZ-FERRETIZ,

        Defendant.



                              MEMORANDUM OPINION


        This   matter   is   before   the   Court   on   DEFENDANT'S       MOTION    TO


DISMISS THE INDICTMENT (ECF No. 16) (the "Motion").                          For the

following reasons, this motion was denied by an ORDER entered

January 23, 2019 (ECF No. 21).

                                  BACKGROUND


I.      Procedural Context


        Isidoro Gonzalez-Ferretiz ("Gonzalez-Ferretiz") was charged

in a one-count indictment with illegal reentry pursuant to 8

U.S.C. § 1326(a). ECF No. 3. On               November 27, 2018, Gonzalez-

Ferretiz filed DEFENDANT'S MOTION TO DISMISS THE INDICTMENT (ECF

No. 16) (the "Motion").1 The Government filed a brief (ECF No. 17)

in opposition to the Motion. No reply brief was filed by Gonzalez-




1 The Defendant initially filed his Motion on November 15, 2018
(ECF No. 13). Because the Motion was filed late, the Defendant
sought leave to file out of time (ECF No. 14); and that request
was granted on November 20 (ECF No. 15).
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Ferretiz. On January 22, 2019, the Court received evidence and

heard oral argument on the Motion.

II.   Factual Background

      Gonzalez-Ferretiz is a Mexican citizen. EOF No. 17 at 1.          He

came to the United States illegally sometime before July 2008,

when he was encountered by Immigration and Customs Enforcement

("ICE") officials in Pennsylvania. Id. He was granted voluntary

departure^ to Mexico, and was removed to Mexico on August 5, 2008.

Id. He then reentered the United States on some date before July

23, 2012.    On that date, he gave a sworn statement (written in

English) to immigration officials         while in state      custody in

Pennsylvania.2 See Gov't Ex. 1.

      Then, on June 2, 2014, Gonzalez-Ferretiz was convicted in

Pennsylvania of "Theft from a Motor Vehicle" and received a

sentence of up to 23 months in prison, which appears to be time

served as of June 2, 2014. ECF No. 17 at 1; Gov't Ex. 2; Def.'s

Ex. 1.   Following that conviction, Gonzalez-Ferretiz was served

with a "Notice of Intent to Issue a Final Administrative Removal

Order," or Form 1-851 (hereinafter, the "1-851"), advising him


2 At the evidentiary hearing, there was some dispute raised about
the 2008 removal. Counsel for Gonzalez-Ferretiz called the 2008
removal "voluntary return," rather than "voluntary departure."
Because the resolution of the Motion does not turn on the meaning
of those terms, it is unnecessary to resolve the difference
between the two terms.


3 It is unclear why Gonzalez-Ferretiz was in custody in 2012.
                                    2
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that, because of the conviction for an "aggravated felony" under

8 U.S.C. § 1101(a)(43)(G), he was a deportable alien. ECF No. 17

at 2; Gov't Ex. 3; ECF No. 16 at 1-2. On the continuation page

attached to the 1-851 form, Gonzalez-Ferretiz was informed of the

specific conviction that served as the basis for his removal; to

wit: "Theft From a Motor Vehicle, in violation of Title 18 Section

3934 Subsection A of the Pennsylvania Criminal Code."                  Gov't Ex.

3.


        Like all 1-851 forms, the one served on Gonzalez-Ferretiz

contained      a    "Certificate    of   Service."      Gov't    Ex.    3.   This

"Certificate        of   Service" reports   that   it   had     been   served   on

Gonzalez-Ferretiz "in person" on June 3, 2014; and it recites that

it had been "explained and/or served" on Gonzalez-Ferretiz in

English.      Id.    Gonzalez-Ferretiz    acknowledged     the     service      and

explanation by affixing his signature. Id.               Further down on the

same page of the 1-851 form, Gonzalez-Ferretiz selected a check

box that stated: "I Do Not Wish to Contest and/or to Request

Withholding of Removal."           Id. He also selected a check-box that

stated:


              I admit the allegations and charge in this
              Notice of Intent. I admit that I am deportable
              and acknowledge that I am not eligible for any
              form of relief from removal. I waive my right
              to rebut and contest the above charges. I do
              not wish to request withholding or deferral of
              removal. I wish to be removed to [Mexico].
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Id.     Lastly, he selected a check-box that stated: "I understand

that I have the right to remain in the United States for 14

calendar days in order to apply for judicial review. I do not wish

this opportunity. I waive this right.           Id. After making these

selections, Gonzalez-Ferretiz once again signed the 1-851 form.

Id.   Deportation Officer Matt Garrison signed below            Gonzalez-

Ferretiz's signature as a witness. Id.

      At the evidentiary hearing. Officer Garrison and Deportation

Officer Richard Tine explained the process by which 1-851 forms

are served on an alien. They both testified that, if an alien

indicates that he or she does not speak or understand English,

the alien is provided the 1-851 form in his or her native language.

This is accomplished either by bringing into the interview a

native-speaking immigration official to explain the document to

the alien, or by connecting to the so-called "language line,"

which     provides   around-the-clock     translation      services    for

immigration officials. If the "language line" is called, the I-



^ The 1-851 form also included a half-page explanation (in
English) of Gonzalez-Ferretiz's "Rights and Responsibilities,"
including his right to have an attorney in the immigration
proceedings and his right to challenge his removal. See Gov't Ex.
3 at 1. Additionally, on the page where Gonzalez-Ferretiz selected
that he did not wish to contest his removal, there was a check
box that stated "I Wish to Contest and/or to Request Withholding
of Removal," and listed several grounds upon which Gonzalez-
Ferretiz could make such a challenge. Id. at 2. Gonzalez-Ferretiz
did not select that option, but rather chose not to challenge his
deportation.
                                    4
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851 form is read to the alien in his native language. Providing

those translations is standard ICE practice, and Officer Garrison

testified that, because no translation was provided in this case,

Gonzalez-Ferretiz would have advised that he spoke and understood

English. At the evidentiary hearing in this case, counsel for

Gonzalez-Ferretiz represented that Gonzalez-Ferretiz spoke and

understood     English,   but   was   using   an       interpreter   in   these

proceedings because of the nature of the proceedings.

      Based on the state conviction in Pennsylvania and waivers of

his   rights   to   challenge   the   removal,     a    Final   Administrative

Removal Order ("Final Order") was issued on June 3, 2014.^ The

Final Order found that Gonzalez-Ferretiz had a final conviction


for an "aggravated felony" under 8 U.S.C. § 1101(a)(43)(G) and

that he was removable. Gov't Ex. 4; EOF No. 17 at 2; EOF No. 16-

1 at 1. Pursuant to the Final Order, Gonzalez-Ferretiz was removed

from the United States on June 19, 2014. EOF No. 17 at 2.

      Sometime thereafter, Gonzalez-Ferretiz again reentered the

United States illegally, was discovered by ICE officials, and came

into ICE custody pursuant to a "Reinstatement of the Removal Order

of June 19, 2014."®       EOF No. 17 at 3.             On February 20, 2018,


® At the evidentiary hearing. Officer Tine explained that the
Final Order is typically signed on the same day that the alien is
served with the 1-851 form where, as here, the alien has indicated
that he does not wish to challenge his deportability.

® The AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT (EOF No. 1) avers
                                      5
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Gonzalez-Ferretiz received a copy of the Notice of Intent/Decision

to Reinstate Removal Order, and pursuant to the 2014 Final Order,

he was removed from the United States on March 7, 2018. Id.; see

also    Aff.    1   17    (EOF   No.     1).   Thereafter,   Gonzalez-Ferretiz

reentered the United States illegally again.'' EOF No. 17 at 3.              He

was indicted on the illegal reentry charge on September 19, 2018

(EOF No. 3) and was arrested pursuant to the indictment on October

23, 2018. EOF No. 5; EOF No. 17 at 3.

       Officer Tine testified that he interviewed Gonzalez-Ferretiz

in early 2018; that they spoke in English; and that Gonzalez-

Ferretiz gave no indication that he did not speak and understand

English.       Officer    Tine     was   satisfied   that    Gonzalez-Ferretiz

understood all that was said to him.




that, on December 25, 2017, Gonzalez-Ferretiz "was encountered by
the [ICE] Lorton Command Center following GONZALEZ-FERRETIZ's
arrest in Virginia for DUI 1st in violation of V.A. Code § 18.2-
266 in Caroline County Virginia." Aff. at f 14. He was taken into
ICE custody in Richmond on February 16, 2018, id. 5 15, and, on
February 20, 2018, he was served with the order to reinstate the
prior removal order. Id. f 16.

 While the exact details of this time period are unclear, the
AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT (EOF No. 1) states:
"On    September    11,    2018,    GONZALEZ-FERRETIZ    was   encountered   in
Laguna Niguel, California, following GONZALEZ-FERRETIZ's arrest
in Caroline County for probation violation. GONZALEZ-FERRETIZ is
currently in state custody at the Pamunkey Regional Jail. An ICE
detainer 1-247 was issued to the Pamunkey Regional Jail." Aff. 5
19.
                                           6
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                                    DISCUSSION


  A. Framework for Collateral Challenges to Prior Deportation
       Orders


       Gonzalez-Ferretiz has been charged with illegal reentry under

8 U.S.C. § 1326(a).         To prove that charge, one of the elements

that   the    Government    will    have   to    establish      is   that    Gonzalez-


Ferretiz     "has    been   denied    admission,      excluded,           deported,   or

removed" and thereafter reentered the United States without, inter

alia, the permission of the United States Attorney General. 8

U.S.C. § 1326(a). In United States v. Mendoza-Lopez, 481 U.S. 828

(1987), the Supreme Court of the United States held that, in

illegal reentry cases,         an     alien     has   a   due    process right to

challenge the underlying deportation order.                 Thereafter, Congress

codified the due process requirements in 8 U.S.C. § 1326(d). See

United States v. Moreno-Tapia, 848 F.3d 162, 165-66, 169 (4th Cir.

2017). At bottom. Section 1326(d) "is concerned with failures of

due process in an immigration proceeding that would make it

fundamentally unfair to rely on a removal order coming out of that

proceeding." Id.       at 169.       The statute focuses the inquiry on

whether      there   were   "procedural         defect[s]       in   an    immigration

proceeding [that] insulate[] the resulting order from judicial

review. . . ." Id.


       Section 1326(d) sets out three elements that an alien must

prove to challenge the underlying deportation order. In full, that
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subsection reads:


             In a criminal proceeding under this section [8
             U.S.C. § 1326], an alien may not challenge the
             validity of the deportation order described in
             subsection (a)(1) or subsection (b) unless the
             alien demonstrates that—


                   (1) the alien exhausted any administrative
                   remedies that may have been available to
                   seek relief against the order;

                   (2) the deportation proceedings at which the
                   order was issued improperly deprived the
                   alien of the opportunity for judicial
                   review; and

                   (3) the entry of the order was fundamentally
                   unfair.


8   U.S.C.   §    1326(d)     (emphasis    added).    To    satisfy      Section

1326(d)(3), the Fourth Circuit has held that an alien "must show

that (1) his due process rights were violated by defects in his

underlying deportation proceeding, and (2) he suffered prejudice

as a result of the defects." United States v. El Shami, 434 F.3d

659, 664 (4th Cir. 2005) (quoting United States v. Wilson, 316

F.3d 506, 510 (4th Cir. 2003)). To show prejudice, the alien must

show    that,    "but   for   the   errors   complained    of,   there    was   a

reasonable probability that he would not have been deported." Id.

at 665.      An alien may be excused from meeting certain Section

1326(d) requirements if the underlying deportation proceeding was

procedurally flawed. See Moreno-Tapia, 848 F.3d at 169; United

States V. Lopez-Collazo, 824 F.3d 453, 459-62 (4th Cir. 2016) (due


                                       8
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process violation       where alien    was served the 1-851 form in

language he did not understand); El Shami^ 434 F.3d at 662-64

(excusal from Sections 1326(d)(1) and (d)(2) where alien did not

receive notice of his immigration proceeding).

     It is evident from the statutory text that the defendant must

satisfy (or be excused from) all three elements of Section 1326(d)

to succeed in a collateral challenge.            And, the Fourth Circuit

has so held.    El Shami, 434 F.3d at 663.           The burden of proof to

establish that these elements have been satisfied "rests with the


defendant."    United    States   v.   Galcia,   No.    I:15cr59,   2016    WL

4054926, *2 (E.D. Va. July 26, 2016). And, that burden must be

met by "a preponderance of the evidence." Id. (citing several

cases). If the alien meets his burden, "the illegal reentry charge

must be dismissed as a matter of law." El Shami, 434 F.3d at 663

(citing Wilson).

     The text of 8 U.S.C. § 1326 and Fourth Circuit precedent

establishes that the alien may only collaterally challenge prior

deportation orders in a Section 1326(a) prosecution by following

the requirements of Section 1326(d). In Moreno-Tapia, the Fourth

Circuit held that, "[u]nder [§ 1326(d)], in order to bring a

successful    collateral    attack     against   a     removal   order,    the

defendant in an illegal reentry prosecution must meet [the] three

requirements [listed in the statute]." 848 F.3d at 166.                   In a
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well-reasoned recent decision, Judge Ellis confirmed this view in

holding that:

           Congress has made clear that an alien who
           demonstrates these three prerequisites has
           been denied meaningful judicial review in the
           initial removal proceeding and thus has the
           right to attack collaterally the prior removal
           order and related proceeding under § 1326(d).
           Importantly, the three prerequisites are
           listed in the conjunctive, and thus, as the
           Fourth Circuit has recognized, the defendant
           must satisfy all three prerequisites in order
           to be able to challenge collaterally the
           underlying removal order. United States v. El
           Shami, 434 F.3d 659, 663 (4th Cir. 2005).
           Therefore, defendant here may not challenge
           the   June    2007   Removal   Order   unless    he   meets
           all three § 1326(d) requirements. But if
           defendant meets all three requirements, the
           Indictment's illegal re-entry charge under §
           1326(a) and (b)(1) must be dismissed. Id.

United States v. Romero-Caceres, No. l:18-cr-354, 2018 WL 6059381,

at *3 (E.D. Va. Nov. 19, 2018) (emphasis added); see also id. at

*5 n.7.   That reasoning applies fully here.®

     The Court recognizes that language in Moreno-Tapia and a

recent    opinion   by     Judge   Brinkema       suggest    that    collateral



® Like many courts facing Section 1326 prosecutions in the wake
of Pereira v. Sessions, 138 S. Ct. 2105 (2018), Judge Ellis
analyzed (and rejected) the defendant's argument that the original
immigration proceeding was void for lack of jurisdiction. 2018 WL
6059381, at *5-9. His opinion, however, analyzed this argument
only after "assuming, arguendo that defendant could clear the
hurdle imposed by the three § 1326(d) requirements," clearly
requiring a satisfaction of the Section 1326(d) requirements
before the jurisdictional argument could even be entertained. Id.
at *5.


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challenges outside of Section 1326(d) might be possible. See

Moreno-TapiS/   848   F.3d at 170 ("We need not decide today,

.whether due process might in some circumstances demand that an

immigration order based on an unconstitutional conviction be

subject to collateral attack.");          United States v. Rivera Lopez,

No. l:18-cr-381(LMB), 2018 WL 6834363, at *3 (E.D. Va. Dec. 28,

2018) (it "remains an open question" whether "due process requires

that a defendant be given an opportunity to bring a collateral

attack beyond the requirements and limitations of § 1326(d)")

(emphasis in original).

     At this juncture, however, given the clear language of the

statute and the fact that Moreno-Tapia, Lopez-Collazo, and El

Shami all perform the collateral attack analysis solely within

the Section 1326(d) framework, the cogent, well-reasoned approach

taken in Romero-Caceres correctly sets out the proper framework

for resolving challenges such as the one made here by Gonzalez-

Ferretiz.    And,     so   the   Court   holds   that   an   alien   may   only

challenge his underlying deportation order by satisfying the three

requirements of Section 1326(d). Allowing collateral challenges

in Section 1326 prosecutions outside of Section 1326(d) flies in

the face of the       clear statutory text and          Congress' intent.^



® The "Section-by-Section" analysis of the legislation that added
Section 1326(d) states that the new subsection "allow[s] a court
in a criminal proceeding against a deported alien who re-enters
                                     11
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Accordingly, if the Court determines that Gonzalez-Ferretiz has

failed to satisfy any of the three elements of Section 1326(d),

his collateral challenge must be rejected, and his motion denied.

  B. Analysis

     Before assessing whether Gonzelez-Ferretiz has met his burden

under Section 1326(d), it is appropriate to resolve Gonzalez-

Ferretiz's contention that, wholly apart from the requirements of

Section 1326(d), an alien may collaterally attack the removal

order by showing that his prior removal is void for lack of

jurisdiction. As set out below, Gonzalez-Ferretiz argues that his

2014 removal was void for lack of jurisdiction because he was not

convicted of an aggravated felony. After analyzing this argument,

the Court will assess whether Gonzalez-Ferretiz has met his burden

under Section 1326(d).

         a. Jurisdiction


     Gonzalez-Ferretiz first argues that he can challenge his 2014

removal outside of the Section 1326(d) requirements. See generally



the U.S. to re-examine the underlying deportation order only if
the alien" satisfies the three requirements of Section 1326(d).
140 Cong. Rec. S.5558-01 (daily ed. May 11, 1994), 1994 WL 181390,
at *S5571 (emphasis added). "This language taken from United
States   V. Mendoza-Lopez, 481 U.S. 828 (1987), is intended to
ensure that minimum due process was followed in the original
deportation proceeding while preventing wholesale, time consuming
attacks on underlying deportation orders." Id.

  Because it has been raised, the Court will briefly address
Gonzalez-Ferretiz's jurisdictional argument too.
                                   12
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ECF No. 16 at 3-15.           In sum, he argues that his conviction under

the Pennsylvania theft statute was not an "aggravated felony" and

that, therefore, he was not amenable to removal on the ground

charged.       Id.    As    Gonzalez-Ferretiz       sees     it,    the    immigration

official made an error of law in 2014 (there was no "aggravated

felony"), and, as a result, the "officer who entered [the removal

order] lacked subject matter jurisdiction to enter the order at

all."     id.    at    3.    Thus,      the    argument     goes,    the    underlying

deportation is void and there is no need for him to satisfy the

Section 1326(d) factors.

        The nub of Gonzalez-Ferretiz's argument here is that a legal

error     by    immigration        officials       in    2014     means    that     those

immigration officials never had jurisdiction over his case, and

that his 2014 removal is void.                In his briefing, Gonzalez-Ferretiz

has not cited a single case that supports this claim in a Section

1326(a) prosecution. Id. at 3-6. That is, he has not cited any

authority involving a prosecution under 8 U.S.C. § 1326(a) whereby

a defendant is permitted to challenge the classification of the

predicate offense underlying his removal other than pursuant to

the requirements of Section 1326(d).                    Instead, Gonzalez-Ferretiz

cites several appellate decisions wherein courts have found that

the Board of Immigration Appeals lacked jurisdiction to order an

alien's    removal         where   an   immigration       judge     had    not    ordered


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removal. See Rhodes-Bradford      v. Keisler, 507 F.3d 77 (2d Cir.

2007); James v. Gonzales^ 464 F.3d 505 (5th Cir. 2006); Noriega-

Lopez V. Ashcroft, 335 F.3d 874 (9th Cir. 2003).              Those decisions

did not arise in the context of a Section 1326 prosecution.

       Moreover, in the Section 1326 context, it appears that courts

address   arguments    about   whether   a   predicate    offense      was   an

"aggravated felony" under the Section 1326(d) requirements. See,

e.g., United States v. Martinez-Hernandez, 912 F.3d 1207, 1211-15

(9th Cir. 2019) (analyzing argument under Section 1326(d)(3));

United States v. Almanza-Vigil, 912 F.3d 1310, 1316 (10th Cir.

2019) (same).     Thus, the Court does not find the cases cited by

Gonzalez-Ferretiz in his briefing to direct the inquiry here.

       At the evidentiary hearing, counsel for Gonzalez-Ferretiz

stated that cases decided in the wake of Pereira v. Sessions, 138

S. Ct. 2105 (2018), support his jurisdictional attack. In Pereira,

the Supreme Court held that "[a] putative notice to appear that

fails to designate the specific time or place of the noncitizen's

removal proceedings is not a        ^notice to appear under section

1229(a),' and so does not trigger the stop-time rule." Id. at

2113-14. Since Pereira, in Section 1326 prosecutions, some courts

have    been   asked   to   determine    whether   Pereira       invalidates


underlying deportations that were begun^^ by "notices to appear"



  In    certain   immigration    proceedings    (not     at    issue   here),
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that were defective under Pereira because they did not contain

the time or place of the immigration proceeding. See Romero-

Caceres, 2018 WL 6059381, at *5 n.7 (citing cases). That is, the

defendants in those cases argue that they may collaterally attack

their       prior     deportations            because       "the      immigration

court. . . [lacked] jurisdiction to order" the alien's removal

due to the defective "notice to appear." Id. at 5 & n.7.

        To decide this case, the Court need not wade into the merits

of   these    decisions      and    whether       Pereira    does     impact      the

jurisdiction of the immigration court because the validity of a

"notice to appear" is not at issue here. Gonzalez-Ferretiz was

removed pursuant to 8 U.S.C. § 1228 ("Expedited removal of aliens

convicted of committing aggravated felonies"), where proceedings

"commence upon personal service of the Notice of Intent upon the

alien";    the   "Notice    of    Intent      shall   constitute    the   charging

document." 8 CFR § 238.1(b)(2)(i); see also 8 C.F.R. § 1003.14(a);

Lopez-Collazo,      824    F.3d    at   456-58    (describing      the    expedited



procedures before the immigration judge begin upon the filing of
a "notice to appear." See Romero-Caceres, 2018 WL 6059381, at *6-
9 (describing how such procedures operate). Because the "notice
to appear" serves as a charging document, and the regulations
state    that "[j]urisdiction           vests,   and    proceedings      before    an
Immigration Judge commence, when a charging document is filed with
the Immigration Court by the Service," 8 C.F.R. § 1003.14(a)
(emphasis added), the argument is that a faulty "notice to appear"
means that jurisdiction never properly vested with the immigration
court. See Romero-Caceres, 2018 WL 6059381, at *6-9.

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removal procedures). Whatever Pereira's impact, it is clear that

it did not have anything to say about the "Notice of Intent" at

issue in this case.          Rather, Gonzalez-Ferretiz is attempting to

extend the line of cases post-Pereira dealing with the "notice to

appear" to a new context.

      The Court does not find Gonzalez-Ferretiz's jurisdictional

argument    persuasive.      At   bottom,     he   disagrees       with   the legal

conclusion that immigration officials made in 2014 about his

Pennsylvania conviction. He has not cited any authority that such

an error may be raised in the way he proposes (i.e. outside of

the     requirements    of     Section      1326(d))    in     a     Section   1326

prosecution. And, as discussed above, the post-Pereira cases arise

in a different context and are not controlling on this issue.

Accordingly, the       Court rejects Gonzalez-Ferretiz's attempt to

skirt    the   requirements       of   Section     1326(d)     by    raising   this

jurisdictional argument. Such an argument must be raised within

the structure of Section 1326(d), likely under Section 1326(d)(3).




12 The Court also notes that in a recent unpublished decision, the
Fourth Circuit declined to give a broad reading to Pereira. See
United States v. Perez-Arellano, No. 18-4301, 2018 WL 6617703, at
*3 (4th Cir. Dec. 17, 2018) (unpublished) (per curium) ("Simply
put, Pereira did not address the question of an immigration
judge's jurisdiction to rule on an alien's removability, and it
certainly does not plainly undermine the jurisdiction of the 2004
removal proceeding."). See also Leonard v. Whitaker, 746 Fed.
Appx. 269, 269-70 (4th Cir. Dec. 31, 2018) (unpublished) (per
curium).
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See, e.g., MartInez-Hernandez, 912 F.3d at 1211-15.

       b. Section 1326(d)

     Next,   the   Court   considers     whether    Gonzalez-Ferretiz           has

satisfied the three elements of Section 1326(d) that control a

collateral challenge to the 2014 removal.            See Moreno-Tapia, 848

F.3d at 166; Romero-Caceres, 2018 WL 6059381, at *3.                  Gonzalez-

Ferretiz's argument here is that he has satisfied (or is excused

from satisfying) the Section 1326(d) factors, and therefore the

indictment in this case must be dismissed. See generally EOF No.

16 at 15-20.


     Gonzalez-Ferretiz      has   the    burden    to     show    that     he   has


satisfied    all   three   requirements      of    Section       1326(d)    by    a

preponderance of the evidence. Galcia, 2016 WL 4054926, at *2.

For the reasons set forth below, Gonzalez-Ferretiz has failed to

establish    compliance    with   (or    excusal    from)    either        Section

1326(d)(1) or Section (d)(2).           Accordingly, Gonzalez-Ferretiz's

collateral attack on the 2014 deportation order fails. Therefore,

it is not necessary to reach the merits of his arguments under

Section 1326(d)(3).

     (1) Exhaustion of Available Administrative Remedies

     It is uncontroverted that Gonzalez-Ferretiz never sought "any

administrative     remedies that may       have    been   available to seek

relief against the [2014 removal order]." 8 U.S.C. § 1326(d)(1);


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see also ECF No. 17 at 5 n.l (describing the steps that Gonzalez-

Ferretiz could have taken to challenge his removal). Instead, the

record proves, by a preponderance of the evidence, that Gonzalez-

Ferretiz signed an 1-851 form that expressly waived his right to

review the 2014 removal order and consented to his removal. See,

e.g., Gov't Ex. 3.      Indeed, Gonzalez-Ferretiz does not argue that

he satisfied the exhaustion requirement (nor could he). Instead,

he argues that the waiver of the right to review reflected on the

1-851 form that he signed was invalid.

     The parties agree that the validity of Gonzalez-Ferretiz's

waiver of his right to administrative review comes down to whether

he spoke or understood English when he was served with, and given

explanation of, the 1-851 form and the Final Order in June 2014.

An invalid waiver could excuse his failure to exhaust. See United

States   V.    Ortiz,   488   Fed.    Appx.    717,     718   (4th   Cir.   2012)

(unpublished); United States v. Sosa, 387 F.3d 131, 136 (2d Cir.

2004);   cf.   Lopez-Collazo,        824    F.3d   at   459   (4th   Cir.   2016)

(assuming     without deciding that waiver on             an 1-851 form       was

invalid where defendant did not sufficiently read or understand

English).      "If/     however,     [Gonzalez-Ferretiz]        knowingly     and


13 In Lopez-Collazo, the District Court concluded that the
defendant "understood almost no English" and that it was "patently
clear that Lopez-Collazo in 2007 did not read or understand
English to an extent sufficient to enable him to comprehend the
NOI or the Waiver form. . .or to make a knowing and informed
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voluntarily waive[d] his right to appeal an order of deportation,

then his failure to exhaust administrative remedies. . .bar[s]

[his] collateral attack on the order in [the instant] illegal

reentry prosecution under § 1326(d)." United States v. Lopez, 667

Fed. Appx. 837, 838 (4th Cir. 2016) (unpublished) (per curium).

       The record establishes quite clearly that Gonzalez-Ferretiz

sufficiently understood and spoke English at the time he was

provided the 1-851 form in June 2014.             First, Gonzalez-Ferretiz

does not contend that, at the time, he did not understand English.

Instead, he argues that the 1-851 form was not served in his

"native language" of Spanish.           EOF No. 16 at 16-17. That sleight

of    hand   is   not   enough.   The   fact   that   Spanish   is    Gonzalez-

Ferretiz's native language is not at all dispositive. What matters

is whether he also "understands" English.

       Second, the Government proved that Gonzalez-Ferretiz gave a

sworn, written statement in July 2012 in English. See Gov't Ex.

1. That fact shows that, two years before being served the 1-851

form at issue, Gonzalez-Ferretiz understood English.                 Third, two



decision on the basis of forms that he could not read." Lopez-
Collazo, 824 F.3d at 459 (internal quotations omitted).

     Immigration officials must "provide the alien with a written
translation of the Notice of Intent or explain the contents of
the Notice of Intent to the alien in the alien's native language
or in a language that the alien understands."        8 C.F.R. §
238.1(b)(2)(v) (emphasis added); Lopez-Collazo, 824 F.3d at 462
(quoting this language).
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iinrtiigration officials. Officers Tine and Garrison, testified that

when serving 1-851 forms, if an alien indicated that he did not

understand English, interpretive services would have been provided

and the 1-851 form would have been read to the alien in a language

that he understood. There is no record evidence to the contrary.

Officer Garrison witnessed Gonzalez-Ferretiz's signing of the I-

851 form   (and    affirmed   this fact     with   his   signature).   While

Garrison   did    not   remember    Gonzalez-Ferretiz    specifically,    he

testified that the fact that the 1-851 form was explained in

English shows that Gonzalez-Ferretiz would have demonstrated an

understanding of English at the time, or, under the standard

practice, the form would not have been read in English and an

interpreter would have been used.

     Fourth, Officer Tine interviewed Gonzalez-Ferretiz in person

in February 2018. At that time. Officer Tine spoke with Gonzalez-

Ferretiz in English and Gonzalez-Ferretiz gave no indication that

he did not speak or understand English. Finally, counsel for

Gonzalez-Ferretiz—when asked why an interpreter was present at

the evidentiary hearing—represented that Gonzalez-Ferretiz spoke

conversational     English,   and    that   an   interpreter   was   present

because legal terminology was more complex.

     Based on the record as a whole, the Court finds that Gonzalez-

Ferretiz did speak and understand English when he was served the

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1-851 form and Final Order in June 2014.               He also understood that

part of the form that contains the written waiver of his right to

challenge      his     deportation.      Gonzalez-Ferretiz     has     offered        no

evidence to rebut this conclusion. His waiver of these rights is

therefore      valid    and   does    not    excuse   his   failure    to       exhaust

administrative         remedies.     Accordingly,     the    Court    finds       that

Gonzalez-Ferretiz has failed to establish that he has satisfied,

(or is excused from), the requirement of Section 1326(d)(1).

     (2) Deprivation of an Opportunity for Judicial Review

     It   is    uncontroverted       that    Gonzalez-Ferretiz       did    not    seek

judicial review of the 2014 deportation order until now.                         The I-

851 form informed him of his right to remain in the United States

for 14 calendar days to "petition for review of this order to the

appropriate U.S. Circuit Court of Appeals as provided for in

section   242    of     the   Act,   8   U.S.C.   1252." Gov't       Ex.    1    at   1.

     Instead of availing himself of this right, Gonzalez-Ferretiz

waived it by selecting a check-box that read:                "I understand that

I have the right to remain in the United States for 14 calendar

days in order to apply for judicial review. I do not wish this

opportunity. I waive this right." Gov't Ex. 3 at 2 (emphasis

added).     Based on the record evidence, the Court finds that this

waiver was valid because Gonzalez-Ferretiz understood English at

the time he signed the waiver. Because he validly waived judicial


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review,    Gonzalez-Ferretiz      cannot       now     claim    that     the       2014

deportation     proceeding      "improperly      deprived        [him]       of     the

opportunity for judicial review." 8 U.S.C. § 1326(d)(2); see also

Lopez-Collazo, 824 F.3d at 459.

      Undeterred by this clear waiver of his right to judicial

review,    Gonzalez-Ferretiz      argues    that       the     Fourth    Circuit's

decision in Etienne v. Lynch, 813 F.3d 135 (4th Cir. 2015), excuses

his   failure   to   satisfy   the   judicial        review    prong    of       Section

1326(d).   He argues that Etienne held that the 1-851 form and the

administrative       removal   statute   "do    not     provide    an    alien       an

^opportunity to challenge the legal basis of his removal.'" ECF

No. 16 at 17 (quoting Etienne, 813 F.3d at 138). Therefore, says

Gonzalez-Ferretiz,       "an   alien's     failure       to    appeal        a    legal

determination underlying an administrative removal order cannot

be held against him." ECF No. 16 at 17.              Accordingly, the argument

goes, Gonzalez-Ferretiz is "excused from appealing the legal issue

of whether his forgery [sic] conviction constituted an aggravated

felony." Id. at 18.

      When asked specifically at the evidentiary hearing where, in

Etienne, the Fourth Circuit had established that principle or made

that holding, counsel for Gonzalez-Ferretiz highlighted on the

Court's copy of the Etienne decision the following language:

           As we explain below, we join the Fifth Circuit
           in   holding   that,  in   expedited   removal

                                      22
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               proceedings, an alien has no opportunity to
               challenge the legal basis of his removal. The
               INA's administrative—exhaustion requirement
               therefore does not deprive us of jurisdiction
               to consider such a challenge in the first
               instance on appeal.

813 F.Sd at 138.          While it is true that both this case and Etienne


deal with the 1-851 form and a removal based on an "aggravated

felony"    under      8    U.S.C.    §   1101(a)(43),       the    language      above

illustrates a key difference overlooked by Gonzalez-Ferretiz.                       In

Etienne,      the    Court   of     Appeals   was   deciding       whether    it   had

jurisdiction to review Etienne's expedited removal order under 8

U.S.C. § 1252(d)(1), which requires that an alien "exhaust[] all

administrative remedies available to the alien as of right" before

the Court of Appeals has jurisdiction. Etienne, 813 F.3d at 138.

The    Court    of    Appeals     concluded    that       the    expedited    removal

proceedings and the 1-851 form did not provide a way for aliens

like Etienne to challenge the legal basis for their removal. Id.

Because there was no way to raise such a challenge, Etienne "was

not required to raise his legal challenge to removal in order to

meet    the     exhaustion      requirement,"       and    the    Court   thus     had

jurisdiction to proceed. Id. at 142.

       However, Etienne does not address collateral attacks under 8

U.S.C. § 1326(d).          Indeed, it does not even cite to Section 1326.



  Though not raised by the parties, the Court has found one
district court case expanding the reasoning of Etienne to the
                                         23
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Rather, that case dealt with the Court of Appeals' jurisdiction

to hear an appeal of the alien's expedited deportation at the time

he was being deported.         That is not what this case is about.

Moreover, here, Gonzalez-Ferretiz expressly and knowingly waived

the right to judicial review.            There is also another important

factual    difference   between     this    case    and   Etienne:      Etienne

indicated    during   his    removal     proceedings      that   he   wanted   to

challenge his removal. 813 F.Sd at 137. Here, Gonzalez-Ferretiz

waived that right and consented to deportation.

     For the foregoing reasons, the Court does not find that

Etienne controls its analysis here. Thus, contrary to Gonzalez-

Ferretiz's argument, it does not somehow negate his express waiver

of his right to judicial review. Because the Court concludes that

Gonzalez-Ferretiz understood English at the time he was served




Section 1326(d) context. United States v. Cazares-Rodriguez, No.
3:17-cr-00327-GPC-l, 2017 WL 2212031 (S.D. Cal. May 19, 2017).
There, the court held that Etienne's reasoning that the 1-851 does
not permit a legal challenge of the aggravated felony
determination "applies with equal force in the context of the §
1326(d) requirements." Id. at *5. The Defendant's waiver of his
right to challenge his deportation was invalid where he did not
know he could challenge his state conviction as not being an
"aggravated felony." Id.

  Cazares-Rodriguez supports the decision reached here because it
confirms    that   Etienne   was   not   about     collateral    attacks   under
Section 1326(d). See Cazares-Rodriguez, at *4 n.3. And, absent
direction from the Court of Appeals on this issue, this Court will
not follow an out-of-Circuit district court case that expands a
Fourth Circuit precedent to new contexts.
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the 1-851 form and Final Order and that Etiefine does not apply,

the Court finds that Gonzalez-Ferretiz validly waived his right

to judicial review. Thus, he fails to establish that he has met 8

U.S.C. § 1326(d)(2).

     (3) Fundamental Unfairness

     Since the Section 1326(d) requirements "are listed in the

conjunctive. . .[Gonzalez-Ferretiz] must satisfy all three in

order to prevail" on a collateral attack of his prior deportation

order. El Shami, 434 F.3d at 663 (internal quotations omitted).

Because the Court concludes that Gonzalez-Ferretiz has failed to

meet either Section 1326(d)(1) or (d)(2), his collateral attack

fails.    It is thus not necessary to consider arguments raised

under    Section   1326(d)(3), that "the     entry   of   the   order   was

fundamentally unfair."




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                                             the foregoing reasons, DEEENBANT'S MdTlvQM ,1©: nES^MlSa.TJH®

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                                                                                     /'S'/          J
                                                                    Robert E. Payne^
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